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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

\ GVO Division

CIVIL RIGHTS COMPLAINT FORM

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WA Ca ce | Sar re CASE NUMBER: 8.24 CV 7S BO Ce tr Tou)
cS tas : , (To be supplied by Clerk's Office)

Enter full name of each Plaintiff and prison
number, f appiicapie)

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(Enter full name of'each Defendant. If
additional space is required, use the blank
area directly to the right), Us

WAL YVAC hy /

ANSWER ALL OF THE FOLLOWING QUESTIONS:

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PLACE OF PRESENT CONFINEMENT: 2 A\G\ Cenkwmal Gouleuara
(Indicate the name and location)

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II. DOES YOUR COMPLAINT CONCERN EVENTS INA STATE PRISON FACILITY WITHIN
THE FLORIDA DEPARTMENT OF CORRECTIONS? Yes (_ ) No O.

[If your answer is YES, after reviewing the exhaustion requirements, answer the following
questions]

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EXHAUSTION OF ADMINISTRATIVE REMEDIES: Pursuant to the Prison Litigation Reform Act
or 1995, Title’VIII, Section 803 Amendments to Civil Rights of Institutionalized Persons Act,
exhaustion of administrative remedies. is required in any action brought with respect to prison
conditions under 42 U.S.C. § 1983, or any other federal law, by a prisoner confined in any jail,
prison, or other correctional facility. Any required grievances, appeals, and responses must be
submitted to the Court to verify exhaustion. (If your Complaint concerns conditions at state prison
facilities, you must answer the following questions in Section’ll of this form. If the Complaint
concerns conditions at a county jail or local correctional facility, you must complete Section Ill of
this form.)

EXHAUSTION STEPS ORDINARILY REQUIRED FOR COMPLAINTS ABOUT CONDITIONS AT
STATE PRISON FACILITIES:

General Grievance

er 4e- nformal-Grievance (Form*DC3-005) ° re Rs ee
2. Formal Grievance (Form DC1-303)
3. Appeal to the Office of Secretary (Form DC1-303)

Other Grievance

Inmates are not required to utilize the informal Grievance process in the case of an emergency
grievance, a grievance of reprisal, a grievance of a sensitive nature, a grievance alleging violation
of the Americans with Disabilities Act, a medical grievance, a grievance involving admissible
reading material, a grievance involving gain time governed by rule 33-11.0065 Incentive Gain Time,
or a grievance involving disciplinary action (does not include corrective consultations) governed by
chapier 33-22. The grievance steps are set forth in Fla. Admin. Code Chapter 33-29.

Questions:

A. Emergency Grievance, Grievance of Reprisal, or Grievance of a Sensitive Nature,
Grievance Alleging Violation of the American with Disabilities Act, Medical Grievance,
Grievance, Grievance Involving Admissible Reading Material, Grievance Involving Gain
Time Governed by Rule 33-11.0065 Incentive Gain Time, or Grievance Involving
Disciplinary Action Governed by Chapter 33-22 (Request for Administrative Remedy or
Appeal, bypassing the informal grievance step).

1. Did you submit an above-mentioned grievance to the Superintendent and/or to the
office of Secretary (Form DC1-303)? Yes ( )No (1K oA & L-wac Cacm

2. If so, you must attach a copy of the grievance and response to this Complaint form.
3. Were you denied emergency status? Yes( ) Now Nayar AgPplad

a. If so, did you gg through the informal grievance, formal grievance and appeal
process? Yes No( )

b. Ifso, you must attach copies of the grievance/appeals and responses to this
Complaint form.

B. Informal Grievance (Request for Interview)

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1. Did you submit an informal grievance (Form DC3-006)? Yes S.No ( )

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| 2. Ifso, you must = a copy of the grievance ; arid response to this Complaint orm.

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C. | Formal Grievance (Requ t for Administrative Remedy or Appeal) YACASOT2 16 lav lar

1. Did you have a disciplinary hearing concerning this matter? Yes ( ) No OX

2. If so, you must attach a copy of the disciplinary report and disciplinary committee's
findings and decision to this Complaint form.

3. Did you submit a formal grievance (Form DC 1-303)? Yes|(X)_No ( )
Sy Now Coatkoched

4. Ifso, you must attach a Copy of the grievance and response to this Complaint form.

D. Appeal to the Office of the Secretary (Request for Administrative Remedy or Appeal)

' 1. Did you submit an appeal to the Office of the Secretary (Form DC1-303)?
Yes ( ) No

2. Ifso, you must attach a copy of the appeal and response to this Complaint form.

| DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING ANSWERS TO THE
QUESTIONS IN THIS SECTION ARE TRUE AND CORRECT.

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signed this_ Ze day of CO c\oper 207\
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Signature of Plaintiff

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ll. DOES YOUR COMPLAINT CONCERN EVENTS IN A COUNTY JAIL OR LOCAL
FACILITY? Yes) No( )

If your answer is YES, answer the following questions.

A.
B.

Is there a grievance procedure at your institution or jail? Yes DANo ( )

Did you present the facts relating to-your Complaint in the grievance procedure Yeb)
( )No( )

If your answer is YES:

1. What steps did you take? Sako Xx ANE : La Sormal CAQAC \

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2. What were the results? Nev wr € eoveyrd C OU /[ Mr.

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3. To demonstrate exhaustion, you: must submit copies of all relevant

grievances/appeals and responses. To\G\*A\ TEQuesxs # WAGAQtaZzd vof2s/t
FEYYGIEZ72  \olaju
If your answer is NO, explain why not: ZL

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| DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING ANSWERS TO THE

QUESTION

Signed this

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Signature of Plaintiff ~
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IV.

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PREVIOUS LAWSUITS:

A. Have you initiated other lawsuits in state court dealing with the same or similar facts

involved in this action or otherwise relating to your imprisonment or conditions thereof?
Yes( ) Not

Have you initiated other lawsuits in federal court dealing with the same or similar facts
involved in this action or otherwise relating to your imprisonment or conditions thereof?
Yes( )NoAL

lf your answer to either A or B is YES, describe each lawsuit in the space provided
below. If there is more than one lawsuit, describe all additional lawsuits on a separate
piece of paper, using the same format as below.

1. Parties to previous lawsuit:

wee ae

Plaintiff(s): a

sf
Defendant(s): Sa
a

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2. Court (if federal court, name the district; if state court, name the county):

3. Docket Number: \ | oo
ro
4. Name of judge: oo A

5. Briefly describe the facts and basis of the lawsuit:

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6. Disposition (Was the case dismissed? Was it appealed? Is-it’still pending?):

\W
7. Approximate filing date:

8. Approximate disposition dg

Have you initiated lawsuits or appeals from lawsuits in federal court that have been
dismissed as frivolous, malicious or for failure to state a claim upon which relief may be
granted? If so, identify theses suits below by providing the case number, the style, and
the disposition of each case:

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V. PARTIES: In part A of this section, indicate your full name in the first blank and your full
mailing address in the second blank. Do the same for each additional Plaintiff named in the
Complaint (if any) in part B of this section:

A. Name of Plaintiff: Macnoek Shee aon Dov OQ
Mailing address: _~ 2 ol Cendcol Boulevar a. - ~
Land Y Loves, Slonda Sls

B. Additional Plaintiffs:
ee
—_—_—e

In part C of this section, indicate the full name of the first named Defendant. Also, fill in his
or her mailing address, position, and where: he or she is employed. For any additional
Defendants, use parts D through G of this section for the names, addresses, positions and
places of employment:

C. Defendant: Wo No (Se) eau - GWA
Mailing Address: \\\ WG Langage BXoee Surke, Bon
Sk. Leas, “Wheat L_ Gsi\az
Position: Vides Wisnkalasnr Serle @ Posts so

Employed at: Watts Coon tu De KUYNON

Yo) Se5 F¥2S
D. Defendant: SkarbrelA7 vo Aa ciclo ess

Mailing Address; \YUSS) Nlacdda Kaya Aey\ Tead
Ao ods dcd\e , Antone YAU

Position: C A NOx

Employed at: at Xuhace Cs nose ot Var etu

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E. Defendant: i

Mailing Address:

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Position:

Employed at:

F. Defendant:

Mailing Address:

| Position: | . .
3 Employed at: { _\ shew QA Ws VR
! G. Defendant: |
Mailing Address: |
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Position: \
Employed at: — \

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Vi. STATEMENT OF CLAIM: State what rights under the Constitution, laws, or treaties of the
United States have been violated, and be specific. If you intend to allege a number of
related claims, set forth each claim in a separate paragraph. Any claim that is not related
to the same basic incident or issue must be addressed in a separate Civil Rights Form.

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See Arkacamen*

Vil. STATEMENT OF FACTS: State as briefly as possible the FACTS of your case. Describe
how each defendant was invoived. Do not make any legal arguments or cite any cases
or statutes. State with as much specificity as possible the facts in.the following manner:

Name and position of person(s) involved.
Date(s).

Place(s).

Fact(s) or event(s) giving rise to your claim, including involvement of each defendant.

Nature and extent of injury (/.e., physical injury or how you were harmed by the acts of
the defendant(s)).

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. Statement of Facts, continued:

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Vit. | RELIEF REQUESTED: State briefly what you want the Court to do for you. Again, do not
| make any legal arguments or cite any cases or statutes.

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| DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

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| MICHAEL DAS

(Signatures of all Plaintiffs)

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